AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Oregon
                                                            District of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No. 3:22-mj-00143
                                                                   )
                      Shawn Lee Tapio                              )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
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         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                                in the county of            Multnomah         in the
                       District of            Oregon          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 2113(a)                             Bank Robbery
18 U.S.C. § 924(c)                              Possession of a Firearm in Furtherance of a Crime of Violence




         This criminal complaint is based on these facts:
See attached affidavit of TFO, Brett S. Hawkinson




         ✔ Continued on the attached sheet.
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                                                                                               /s/ By telephone
                                                                                             Complainant’s signature

                                                                                  Brett Hawkinson, FBI Task Force Officer
                                                                                              Printed name and title

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Date:      August 9, 2022
                                                                                                Judge’s signature

City and state:                         Portland, Oregon                      Youlee Yim You, United States Magistrate Judge
                                                                                              Printed name and title
